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 8                            IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10
                                                  CASE NO. 1:12-CR-00130
11   UNITED STATES OF AMERICA,
                                                  FINAL ORDER OF FORFEITURE
12                                   Plaintiff,

13                            v.

14   DALIA REYES-SERAPIO,

15                                   Defendant.

16

17         WHEREAS, on December 18, 2012, this Court entered a Preliminary Order of

18 Forfeiture pursuant to the provisions of 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

19 based upon the plea agreement entered into between plaintiff and Dalia Reyes-Serapio,

20 forfeiting to the United States the following property:

21                  a. Approximately $5,242.00 in United States currency;
                    b. One IBM Thinkpad Laptop;
22                  c. Two thumb drives;
                    d. One iPhone 4;
23                  e. One Metro PCS cellular telephone;
                    f. Three Epson Stylus printers;
24                  g. One OKI printer;
                    h. Card making supplies;
25                  i. One wireless modem;
                    j. Five paper cutters;
26                  k. One Cannon scanner;
                    l. One Dacetek 500 laminator;
                    m. Six LG cellular telephones;
27                  n. One box business cards;
                    o. One Dell computer monitor;
28                  p. One HTC cellular telephone;


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 1                  q. Miscellaneous documents;
                    r. Suspect documents;
 2                  s. Three micro SD cards;
                    t. One Dell desktop computer;
 3                  u. Three Epson printers;
                    v. One Zebra card printer;
 4                  w. Miscellaneous computer parts;
                    x. Two Dell laptop computers;
                    y. Three Kyocera cellular telephones;
 5                  z. One Fujifilm camera;
                    aa. One T-Mobile cellular telephone;
 6                  bb. One iPod, 80GB;
                    cc. Six Samsung cellular telephones;
 7                  dd. One Toshiba laptop computer;
                    ee. One Gateway laptop computer;
 8                  ff. One Motorola cellular telephone;
                    gg. One Cricket cellular telephone;
 9                  hh. One Nikon camera;
                    ii. Four counterfeit LPR cards;
10                  jj. Three counterfeit SSN cards;
                    kk. Two laminators;
11                  ll. One edge cutter;
                    mm. Card stock;
                    nn. Miscellaneous photographs;
12                  oo. One Acer laptop computer;
                    pp. Three Verizon cellular telephones;
13                  qq. One Sony Ericsson cellular telephone;
                    rr. One Magellan GPS;
14                  ss. One iPod, 8GB;
                    tt. 11 cellular telephones;
15                  uu. One Sony Cyber-shot camera; and
                    vv. One cardboard display with printed flyers.
16

17         AND WHEREAS, beginning on February 7, 2013, for at least 30 consecutive

18 days, the United States published notice of the Court’s Order of Forfeiture on the official

19 internet government forfeiture site www.forfeiture.gov. Said published notice advised all

20 third parties of their right to petition the Court within sixty (60) days from the first day of

21 publication for a hearing to adjudicate the validity of their alleged legal interest in the

22 forfeited property;

23         AND WHEREAS, the Court has been advised that no third party has filed a claim

24 to the subject property and the time for any person or entity to file a claim has expired.

25         Accordingly, it is hereby ORDERED and ADJUDGED:

26                 1.      A Final Order of Forfeiture shall be entered forfeiting to the United

27 States of America all right, title, and interest in the above-listed property pursuant to 18

28 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), to be disposed of according to law, including


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 1 all right, title, and interest of Dalia Reyes-Serapio.
 2                 2.      All right, title, and interest in the above-listed property shall vest

 3 solely in the name of the United States of America.

 4                 3.      The Department of Homeland Security, Immigration Customs

 5 Enforcement or Customs and Border Protection, shall maintain custody of and control over

 6 the subject property until it is disposed of according to law.

 7
     IT IS SO ORDERED.
 8

 9 Dated: May 19, 2014
                                              SENIOR DISTRICT JUDGE
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      Final Order of Forfeiture                       3
